                    Case 23-12934            Doc 1       Filed 09/28/23 Entered 09/28/23 14:55:08                              Desc Main
                                                           Document     Page 1 of 60

Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                ABAT Builders, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  10700 W Higgins Road
                                  Suite 350
                                  Des Plaines, IL 60018-3723
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Cook                                                            Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                    Case 23-12934                Doc 1      Filed 09/28/23 Entered 09/28/23 14:55:08                                    Desc Main
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Debtor    ABAT Builders, Inc.                                                                          Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small             Chapter 9
     business debtor” must check
                                          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
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Debtor    ABAT Builders, Inc.                                                                             Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                              50-99                                            5001-10,000                                 50,001-100,000
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
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Debtor   ABAT Builders, Inc.                                                          Case number (if known)
         Name

                               $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                               $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                               $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Debtor    ABAT Builders, Inc.                                                                      Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 24, 2023
                                                  MM / DD / YYYY


                             X /s/ Anthony Czupryna                                                       Anthony Czupryna
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X /s/ David Freydin                                                           Date September 24, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 David Freydin
                                 Printed name

                                 Law Offices of David Freydin
                                 Firm name

                                 8707 Skokie Blvd
                                 Suite 305
                                 Skokie, IL 60077
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     888-536-6607                  Email address      david.freydin@freydinlaw.com

                                 6286192 IL
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Fill in this information to identify the case:

Debtor name         ABAT Builders, Inc.

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       September 24, 2023              X /s/ Anthony Czupryna
                                                           Signature of individual signing on behalf of debtor

                                                            Anthony Czupryna
                                                            Printed name

                                                            President
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                   Case 23-12934                            Doc 1               Filed 09/28/23 Entered 09/28/23 14:55:08                                                           Desc Main
                                                                                  Document     Page 7 of 60
 Fill in this information to identify the case:

 Debtor name            ABAT Builders, Inc.

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        3,310,444.98

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        3,310,444.98


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           117,000.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           117,937.31

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        4,165,007.08


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           4,399,944.39




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
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Fill in this information to identify the case:

Debtor name         ABAT Builders, Inc.

United States Bankruptcy Court for the:      NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Fifth Third Bank, negative balance                Checking                              3149                                             $0.00




          3.2.     Fifth Third Bank Money Market account             Checking                                                                         $500.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                        $500.00
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.

7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit


          7.1.     Pre-payment for accounting software                                                                                              $2,665.25




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                                        page 1
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Debtor           ABAT Builders, Inc.                                                        Case number (If known)
                 Name




          7.2.     CPA retainer                                                                                                                $0.00



8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
          Description, including name of holder of prepayment


9.        Total of Part 2.                                                                                                             $2,665.25
          Add lines 7 through 8. Copy the total to line 81.

Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                   3,157,279.73     -                                   0.00 = ....                $3,157,279.73
                                        face amount                           doubtful or uncollectible accounts



          11a. 90 days old or less:                           0.00     -                                   0.00 = ....                         $0.00
                                        face amount                           doubtful or uncollectible accounts




12.       Total of Part 3.                                                                                                        $3,157,279.73
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:          Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:          Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:          Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                              Net book value of         Valuation method used     Current value of
                                                                           debtor's interest         for current value         debtor's interest
                                                                           (Where available)
Official Form 206A/B                                  Schedule A/B Assets - Real and Personal Property                                         page 2
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Debtor       ABAT Builders, Inc.                                                            Case number (If known)
             Name



39.       Office furniture
          Office furniture                                                                $0.00                                         $10,000.00



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          Computers, printers                                                             $0.00                                          $3,000.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                             $13,000.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used     Current value of
          Include year, make, model, and identification numbers          debtor's interest          for current value         debtor's interest
          (i.e., VIN, HIN, or N-number)                                  (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          47.1.    1999 Dodge Avenger; VIN:
                   4T6UB1620XM010658
                   2000 Dodge Avenger; VIN:
                   4T6UB1625YM011354
                   2000 Dodge Dakota; VIN:
                   1B7GG26X8YS530632
                   2000 US cargo trailer; VIN:
                   4PL400C16Y1046104
                   2001 Morning sun trailer; VIN:
                   5BKUF2026ZT407537
                   2002 Dodge Ram; VIN:
                   3B7MF336X2M304762                                                      $0.00                                         $25,000.00


          47.2.    2023 Buick Envision; VIN:
                   LRBFZSR45PD065350                                                      $0.00                                         $42,000.00


          47.3.    2022 Ford F-250; VIN:
                   1FT8W2BT0NED58097                                                      $0.00                                         $70,000.00




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                          page 3
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Debtor        ABAT Builders, Inc.                                                          Case number (If known)
              Name

48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

49.        Aircraft and accessories


50.        Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)

51.        Total of Part 8.                                                                                               $137,000.00
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
              No
              Yes

53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                              page 4
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Debtor          ABAT Builders, Inc.                                                                                 Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                 $500.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                   $2,665.25

82. Accounts receivable. Copy line 12, Part 3.                                                                 $3,157,279.73

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                          $13,000.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $137,000.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                         $3,310,444.98            + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $3,310,444.98




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                        page 5
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  Record#            Invoice# Description             Date           Due Date     Invoice Total     Balance

Job:   201814 NIMZ
         25        201813-06 Startup AR               12/28/2018     01/27/2019      193,715.00

                                                                   Job Totals:       193,715.00
Job:   2020017 NorthPointe O'Hare Bldg
        813       2020017-04a Pay Application #4      06/30/2023     07/31/2023          728.15        728.15
        814       2020017-03a Pay Application #3      06/30/2023     07/31/2023        1,705.00      1,705.00

                                                                   Job Totals:         2,433.15      2,433.15
Job:   2021002 OWCM OPS
        723      2021002-T-34   Pay Application #1    03/31/2023     04/30/2023       16,704.00     16,704.00
        733     2021002-AV-37   Pay Application #1    03/31/2023     05/27/2023        3,645.00      3,645.00
        740      2021002-Z-38   Pay Application #1    03/31/2023     04/30/2023          975.00        975.00
        757      2021002-Q-42   Pay Application #1    05/31/2023     06/30/2023        3,328.91      3,328.91
        787     2021002-AZ-46   Pay Application #1    12/31/2022     01/31/2023          841.80        841.80
        788     2021002-BA-47   Pay Application #1    12/31/2022     01/31/2023       40,898.28     40,898.28
        789     2021002-AY-45   Pay Application #1    12/31/2022     01/31/2023        3,343.52      3,343.52
        790     2021002-AX-44   Pay Application #1    12/31/2022     01/31/2023       38,000.00      9,015.50
        791     2021002-BC-49   Pay Application #1    12/31/2022     01/31/2023          555.58        555.58
        792     2021002-BB-48   Pay Application #1    12/31/2022     01/31/2023        4,600.00      4,600.00
        794     2021002-BE-50   Pay Application #1    12/31/2022     01/31/2023       72,505.00     72,505.00
        815        2021002-37   Pay Application #1    05/31/2023     06/30/2023       28,250.51     28,250.51

                                                                   Job Totals:       213,647.60    184,663.10
Job:   2021022 Cassnik Contracting
        489        2021022-01 Pay Application #1      12/30/2021     12/30/2021        6,692.44      6,692.44

                                                                   Job Totals:         6,692.44      6,692.44
Job:   2022014 FRR OPS
        509       2022014-01 Pay Application #1       04/06/2022     04/06/2022       12,874.30     12,874.30
        536       2022014-02 Pay Application #2       05/11/2022     05/11/2022        3,889.00      3,889.00
        550       2022014-03 payment appl             06/21/2022     06/21/2022        1,873.00      1,873.00

                                                                   Job Totals:        18,636.30     18,636.30
Job:   2022015 TA#022 Willington CT
        595        2022015-1 Pay Application #1       08/29/2022     10/28/2022        2,027.98      2,027.98

                                                                   Job Totals:         2,027.98      2,027.98
Job:   2022016 Gateway Rosemont Hotel
        818        2022016-15 Pay Application #15     08/31/2023     09/30/2023      429,311.16    429,311.16

                                                                   Job Totals:       429,311.16    429,311.16
Job:   2022028 TA#241 Demotte IN
        706        2022028-04 Pay Application #4      01/31/2023     02/28/2023      114,839.70     43,501.06
        752        2022028-05 Pay Application 5       06/16/2023     07/16/2023       37,414.00     37,414.00
        809 2022028-01-Asphalt Pay Application #1     05/31/2023     06/30/2023       75,000.00     75,000.00

                                                                   Job Totals:       227,253.70    155,915.06
Job:   2022029 Gateway 1st/9th Floor R
        742       2022029-016 Pay Application #6      04/30/2023     05/31/2023        6,219.35      6,219.35
        766        2022029-13 Pay Application #13     01/31/2023     02/28/2023       34,758.07     17,534.01
        768        2022029-15 Pay Application #15     02/28/2023     03/30/2023       62,850.36        464.26
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  Record#            Invoice# Description            Date           Due Date     Invoice Total     Balance


                                                                  Job Totals:       103,827.78     24,217.62
Job:   2022030 Voco Hotel BY IHG Saras
        690       2022030-05 Pay Application 5       02/28/2023     03/26/2023       11,936.79     11,936.79

                                                                  Job Totals:        11,936.79     11,936.79
Job:   2022033 Westin Georgetown Washi
        802       2022033-07 Pay Application #7      07/31/2023     08/31/2023       60,470.58     60,470.58
        817       2022033-08 Pay Application #8      08/31/2023     09/30/2023       42,151.81     42,151.81

                                                                  Job Totals:       102,622.39    102,622.39
Job:   2022035 Mainstay Suite Al...
        804        2022035-06 Pay Application #6     07/31/2023     08/31/2023       87,552.69     87,552.69

                                                                  Job Totals:        87,552.69     87,552.69
Job:   2022036 The Suites at Falls Cre
        810        2022036-07 Pay Application #7     08/31/2023     09/30/2023      163,723.62    163,723.62

                                                                  Job Totals:       163,723.62    163,723.62
Job:   2022038 HIVC Mt. Ascutney Resor
        798   2022038-Ballroom Pay Application #1B   08/01/2023     09/01/2023       37,993.60     37,993.60
        819        2022038-10 Pay Application #10    08/31/2023     09/30/2023       27,456.50     27,456.50
        820        2022038-11 Pay Application #11    08/31/2023     09/30/2023      162,183.36    162,183.36

                                                                  Job Totals:       227,633.46    227,633.46
Job:   2023001 OWCM Falls Pool Bar
        716       2023001-03 Pay Application #3      03/31/2023     04/30/2023       55,557.01     55,557.01
        821       2023001-04 Pay Application #4      08/31/2023     09/30/2023       28,959.46     28,959.46

                                                                  Job Totals:        84,516.47     84,516.47
Job:   2023002 Pulse at The Mayflower
        822        2023002-05 Pay Application #5     08/31/2023     09/30/2023      208,380.53    208,380.53

                                                                  Job Totals:       208,380.53    208,380.53
Job:   2023006 Wingate by Wyndham SeaT
        811       2023006-03 Pay Application #3      08/31/2023     09/30/2023      583,696.40    583,696.40

                                                                  Job Totals:       583,696.40    583,696.40
Job:   2023007 OWCM OPS 2023
        782     2023007-C-03 Pay Application #1      05/31/2023     06/30/2023        5,662.72      5,662.72
        783     2023007-D-04 Pay Application #1      05/02/2023     06/30/2023        5,242.64      5,242.64
        784     2023007-E-05 Pay Application #1      05/31/2023     06/30/2023       13,221.09     13,221.09

                                                                  Job Totals:        24,126.45     24,126.45
Job:   2023008 Mainstay Suites Greensb
        827        2023008-02 Pay Application #8     08/31/2023     09/30/2023      284,555.32    284,555.32

                                                                  Job Totals:       284,555.32    284,555.32
Job:   2023009 OWCM Hall of Cities
        805       2023009-01 Pay Application #1      08/14/2023     09/13/2023      143,158.07    143,158.07
        825       2023009-02 Pay Application #2      08/31/2023     09/30/2023       37,832.43     37,832.43

                                                                  Job Totals:       180,990.50    180,990.50
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Record#      Invoice# Description          Date         Due Date   Invoice Total      Balance


                                                   Grand Totals:    3,157,279.73   2,783,631.43
                Case 23-12934                    Doc 1        Filed 09/28/23 Entered 09/28/23 14:55:08                               Desc Main
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Fill in this information to identify the case:

Debtor name         ABAT Builders, Inc.

United States Bankruptcy Court for the:           NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   Ford Credit                                  Describe debtor's property that is subject to a lien                   $65,000.00                $70,000.00
      Creditor's Name                              2022 Ford F-250; VIN: 1FT8W2BT0NED58097
      PO BOX 650575
      Dallas, TX 75265-0575
      Creditor's mailing address                   Describe the lien
                                                   Purchase Money Security
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.2   Td Auto Finance                              Describe debtor's property that is subject to a lien                   $52,000.00                $42,000.00
      Creditor's Name                              2023 Buick Envision; VIN:
      Attn: Bankruptcy                             LRBFZSR45PD065350
      Po Box 9223
      Farmington Hills, MI 48333
      Creditor's mailing address                   Describe the lien
                                                   Purchase Money Security
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply



Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 2
               Case 23-12934                     Doc 1    Filed 09/28/23 Entered 09/28/23 14:55:08                                    Desc Main
                                                           Document     Page 18 of 60
Debtor      ABAT Builders, Inc.                                                                Case number (if known)
            Name

          No                                        Contingent
          Yes. Specify each creditor,               Unliquidated
      including this creditor and its relative      Disputed
      priority.



3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.          $117,000.00

Part 2:   List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
                Case 23-12934                 Doc 1         Filed 09/28/23 Entered 09/28/23 14:55:08                                     Desc Main
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Fill in this information to identify the case:

Debtor name        ABAT Builders, Inc.

United States Bankruptcy Court for the:         NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             $9,461.53         $9,461.53
          Andrew Jaskolski                                    Check all that apply.
          900 N Kingsbury Unit                                   Contingent
          Chicago, IL 60610                                      Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              wages
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes


2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                           $12,523.08          $12,523.08
          Aneta Kowalczyk                                     Check all that apply.
          802 N River Rd                                         Contingent
          Apt. 18                                                Unliquidated
          Mount Prospect, IL 60056                               Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              wages
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 18
                                                                                                              38484
               Case 23-12934                 Doc 1        Filed 09/28/23 Entered 09/28/23 14:55:08                             Desc Main
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Debtor      ABAT Builders, Inc.                                                                      Case number (if known)
            Name

2.3      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $7,500.00   $7,500.00
         Anthony Czupryna                                   Check all that apply.
         5212 Brown St.                                        Contingent
         Skokie, IL 60077                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.4      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $3,461.54   $3,461.54
         Antoni Czupryna                                    Check all that apply.
         8329 Sailing Loop                                     Contingent
         Lakewood Ranch, FL 34202                              Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.5      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $8,826.93   $8,826.93
         Arek Szawlowski                                    Check all that apply.
         1018 Castilian Court                                  Contingent
         Apt. 310                                              Unliquidated
         Glenview, IL 60025                                    Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.6      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $11,550.00   $11,550.00
         Deanne Kuzmic                                      Check all that apply.
         4835 Cordell Ave.                                     Contingent
         Bethesda, MD 20814                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2 of 18
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Debtor      ABAT Builders, Inc.                                                                      Case number (if known)
            Name

2.7      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $5,261.54   $5,261.54
         Dorota Maslo                                       Check all that apply.
         922 E Old Willow Road                                 Contingent
         Prospect Heights, IL 60070                            Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.8      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $4,916.16   $4,916.16
         Jacie Dick                                         Check all that apply.
         2315 W Wabansia                                       Contingent
         Unit 1E                                               Unliquidated
         Chicago, IL 60647                                     Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.9      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $6,923.07   $6,923.07
         James Panchishin                                   Check all that apply.
         5434 Bryce Canyon Drive                               Contingent
         Kissimmee, FL 34758                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.10     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $9,903.86   $9,903.86
         Michael Caliendo                                   Check all that apply.
         8953 Gloucester Road                                  Contingent
         Woodridge, IL 60517                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                   Page 3 of 18
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Debtor      ABAT Builders, Inc.                                                                      Case number (if known)
            Name

2.11     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $7,500.00   $7,500.00
         Michael McBride                                    Check all that apply.
         4815 S Fire Lane Rd.                                  Contingent
         Pekin, IN 47165                                       Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.12     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $980.76    $980.76
         Nicholas Pigott                                    Check all that apply.
         610 Sheridan Road                                     Contingent
         Apt. 3B                                               Unliquidated
         Highwood, IL 60040                                    Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.13     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $9,184.61   $9,184.61
         Scott Walker                                       Check all that apply.
         3666 Eastside Hwy                                     Contingent
         Stevensville, MT 59870                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.14     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $11,150.00   $11,150.00
         Teresa Szafranski                                  Check all that apply.
         1724 W Robbie Lane                                    Contingent
         Palatine, IL 60067                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 4 of 18
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Debtor        ABAT Builders, Inc.                                                                        Case number (if known)
              Name

2.15       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $8,794.23   $8,794.23
           Vidor Szekely                                        Check all that apply.
           421 N Main St.                                          Contingent
           Mount Prospect, IL 60056                                Unliquidated
                                                                   Disputed

           Date or dates debt was incurred                      Basis for the claim:
                                                                wages
           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                     No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                   Yes



Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

3.1       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                $10,492.00
          4 Star Cleaning Service Corp                                            Contingent
          25 Emerson Drive                                                        Unliquidated
          Schaumburg, IL 60194                                                    Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim: vendor
          Last 4 digits of account number
                                                                              Is the claim subject to offset?     No       Yes

3.2       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                 $7,700.00
          ABBA Roofing & Construction                                             Contingent
          Issaqua-Pine Lake Rd. SE                                                Unliquidated
          Sammamish, WA 98075                                                     Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim: vendor
          Last 4 digits of account number
                                                                              Is the claim subject to offset?     No       Yes

3.3       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                $93,421.20
          ABE's Electric                                                          Contingent
          1004 Royal St.                                                          Unliquidated
          Kissimmee, FL 34744                                                     Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim: vendor
          Last 4 digits of account number
                                                                              Is the claim subject to offset?     No       Yes

3.4       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                   $530.73
          AC Fire Protection LLC                                                  Contingent
          4700 Springfield Ct.                                                    Unliquidated
          Brandywine, MD 20613                                                    Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim: vendor
          Last 4 digits of account number
                                                                              Is the claim subject to offset?     No       Yes

3.5       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                 $4,800.00
          Acoustic Pro Interior Construction                                      Contingent
          25921 Eufaula Way                                                       Unliquidated
          Sorrento, FL 32776                                                      Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim: vendor
          Last 4 digits of account number
                                                                              Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 5 of 18
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Debtor      ABAT Builders, Inc.                                                             Case number (if known)
            Name

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $9,206.47
         AFA Protective Systems, Inc.                                 Contingent
         PO Box 21030                                                 Unliquidated
         New York, NY 10087-1030                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $8,940.80
         Air Systems Engineering                                      Contingent
         3602 South Pine Street                                       Unliquidated
         Tacoma, WA 98409                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $2,079.29
         All Tile                                                     Contingent
         855 N Wood Dale Rd., Ste A                                   Unliquidated
         Wood Dale, IL 60191                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $20,000.00
         Amex                                                         Contingent
         Correspondence/Bankruptcy                                    Unliquidated
         Po Box 981540                                                Disputed
         El Paso, TX 79998
                                                                   Basis for the claim: Business credit card
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $3,285.50
         Andrzej Juzwiak                                              Contingent
         314 Emmerson                                                 Unliquidated
         Itasca, IL 60143                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: contractor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $450,000.00
         Anthony Czupryna                                             Contingent
         5212 Brown St.                                               Unliquidated
         Skokie, IL 60077                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: loan
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $1,550.00
         Betta Builders Corp                                          Contingent
         500 W Kathleen Drive                                         Unliquidated
         Des Plaines, IL 60016                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $25,000.00
         Big City Asphalt                                             Contingent
         3321 Princeton Avenue                                        Unliquidated
         Collinsville, IL 62234                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $131,480.00
         Bill's Electric                                              Contingent
         1716 E. Falcon Street                                        Unliquidated
         Webb City, MO 64870                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $7,942.35
         BKB Pumbing                                                  Contingent
         3404 Colony Drive                                            Unliquidated
         Jonesboro, AR 72404                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $48,219.33
         BP Environmental Services Inc.                               Contingent
         100 Highpoint Dr                                             Unliquidated
         Chalfont, PA 18914                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $12,619.80
         Budget Dumpster, Inc.                                        Contingent
         830 Canterbury Rd                                            Unliquidated
         Westlake, OH 44145                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $6,200.00
         BW Millwork                                                  Contingent
         6555 Skinners Turn Road                                      Unliquidated
         Owings, MD 20736                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $70,637.00
         C&D Plumbing                                                 Contingent
         135 Industrial Park Dr Ste A                                 Unliquidated
         Hollister, MO 65672                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $12,402.27
         Casella Waste Management, Inc.                               Contingent
         PO Box 1372                                                  Unliquidated
         Williston, VT 05495                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $14,043.85
         Ceramic Technics Ltd.                                        Contingent
         1298 Old Alpharetta Road                                     Unliquidated
         Alpharetta, GA 30005                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $921.79
         Citi Cards                                                   Contingent
         PO BOX 9001016                                               Unliquidated
         Louisville, KY 40290-1016                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: business credit card
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $22,379.21
         Citi Cards                                                   Contingent
         PO BOX 9001016                                               Unliquidated
         Louisville, KY 40290-1016                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: credit card
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $7,701.02
         Clark Capital LLC                                            Contingent
         58 Revere Cir                                                Unliquidated
         Ponte Vedra, FL 32081                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $13,426.73
         Concord WP COL Greensboro                                    Contingent
         11410 Common Oaks Drive                                      Unliquidated
         Raleigh, NC 27614                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $125.30
         CR Laurence Co, Inc.                                         Contingent
         2503 E Vernan Ave                                            Unliquidated
         Los Angeles, CA 90058                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $14,403.70
         Craftsman Upholstery LLC                                     Contingent
         9108 Industry Dr. Suite B                                    Unliquidated
         Manassas, VA 20111                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $1,779.14
         Crawford Sprinkler Co. of Raleigh                            Contingent
         2725 S. Saunders Street                                      Unliquidated
         Raleigh, NC 27603                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $10,610.00
         CSS Contractors, Inc.                                        Contingent
         5605-C General Washington Dr                                 Unliquidated
         Alexandria, VA 22312                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $23,853.25
         DALTILE                                                      Contingent
         1601 Pratt Blvd.                                             Unliquidated
         Elk Grove Village, IL 60007                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $7,833.67
         Daluca Equity Construction                                   Contingent
         800 W Central Rd suite 140                                   Unliquidated
         Mount Prospect, IL 60056                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $436,070.40
         Daniel Tile and Remodeling LLC                               Contingent
         c/o Humberto Daniel                                          Unliquidated
         3515 Austin Trail Lane                                       Disputed
         Plant City, FL 33565
                                                                   Basis for the claim: vendor
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $200.00
         Digitline, Inc.                                              Contingent
         550 CREST AVE                                                Unliquidated
         Elk Grove Village, IL 60007                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $26,350.99
         DKJ Construction, Inc.                                       Contingent
         7340 N Nora Ave.                                             Unliquidated
         Niles, IL 60714                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $660.00
         Dolki Painting and Remodeling                                Contingent
         6005 W. Belmont Ave                                          Unliquidated
         Chicago, IL 60634                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $30,665.00
         Domozik Electrical Services                                  Contingent
         1013 Leslie Dr                                               Unliquidated
         Fayetteville, NC 28314                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $23,211.19
         Door Engineering Corp                                        Contingent
         1234 Ballentine Blvd                                         Unliquidated
         Norfolk, VA 23504                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $15,000.00
         DTK Stone Works, Inc.                                        Contingent
         296 W Palatine Road                                          Unliquidated
         Wheeling, IL 60090                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $554.27
         Ease Plumbing                                                Contingent
         19109 W Catawba Ave Suite 110                                Unliquidated
         Cornelius, NC 28031                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $94,845.50
         Edge Electrical Systems LLC                                  Contingent
         1534 Brandy Parkway                                          Unliquidated
         Streamwood, IL 60107                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $1,127.74
         Fabricut, Inc.                                               Contingent
         PO BOX 470490                                                Unliquidated
         Tulsa, OK 74147-0490                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $7,535.60
         Ferguson Enterprises, Inc.                                   Contingent
         FEI 9005                                                     Unliquidated
         PO BOX 100286                                                Disputed
         Atlanta, GA 30384-0286
                                                                   Basis for the claim: vendor
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $5,785.87
         Fifth Third Bank                                             Contingent
         Attn: Bankruptcy                                             Unliquidated
         35 Fountain Square Plaza                                     Disputed
         Cincinnati, OH 45263
                                                                   Basis for the claim: credit card
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $700,000.00
         Fifth Third Bank                                             Contingent
         Attn: Bankruptcy                                             Unliquidated
         35 Fountain Square Plaza                                     Disputed
         Cincinnati, OH 45263
                                                                   Basis for the claim: Line of Credit
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $305,000.00
         Fifth Third Bank                                             Contingent
         Attn: Bankruptcy                                             Unliquidated
         35 Fountain Square Plaza                                     Disputed
         Cincinnati, OH 45263
                                                                   Basis for the claim: business credit card
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $10,450.87
         Foundation Building Materials                                Contingent
         2301 Windsor Ct Unit B                                       Unliquidated
         Addison, IL 60101                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $2,323.06
         Garcia's Painting                                            Contingent
         913 Virginia Beach Blvd                                      Unliquidated
         Lot 126                                                      Disputed
         Virginia Beach, VA 23451
                                                                   Basis for the claim: vendor
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $7,200.00
         GP Company Glass                                             Contingent
         1183 Betty Drive                                             Unliquidated
         Lake Zurich, IL 60047                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $4,268.70
         Grainger                                                     Contingent
         DEPT. 825156813                                              Unliquidated
         Palatine, IL 60038-0001                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.50     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $420.00
         Harrell & Son Plumbing                                       Contingent
         PO BOX 8213                                                  Unliquidated
         Bonney Lake, WA 98390                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.51     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $62,210.60
         Hays Electrical Services Inc.                                Contingent
         5939 Albert Dr                                               Unliquidated
         Humble, TX 77396                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.52     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $7,658.40
         HD Supply Facilities Maintenance                             Contingent
         PO BOX 509058                                                Unliquidated
         San Diego, CA 92150-9058                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.53     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $15,125.00
         Highlands Framing                                            Contingent
         4140 NE 11th St                                              Unliquidated
         Renton, WA 98059                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.54     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $3,244.82
         Home Depot Credit Services                                   Contingent
         PO BOX 9001030                                               Unliquidated
         Louisville, KY 40290-1030                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: credit card
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.55     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $100,000.00
         J&B Construction, Inc.                                       Contingent
         PO Box 373                                                   Unliquidated
         Forsyth, MO 65653                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.56     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $33,250.00
         Jack Thomas Inc.                                             Contingent
         38665 N Anderle Ave                                          Unliquidated
         Lake Villa, IL 60046                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.57     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $100.00
         Jeff City Filing                                             Contingent
         222 EAST DUNKLIN, SUITE 102                                  Unliquidated
         Jefferson City, MO 65101                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.58     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $4,738.57
         Kansai, Inc.                                                 Contingent
         3200 Marshall Drive                                          Unliquidated
         Amelia, OH 45102                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.59     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $40,000.00
         Kevimeria Contractor LLC                                     Contingent
         3839 SW 339th St                                             Unliquidated
         Federal Way, WA 98023                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.60     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $13,739.00
         KLM Mechanical Service                                       Contingent
         11216 DECIMAL DR                                             Unliquidated
         Louisville, KY 40299                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.61     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $3,127.63
         Koroseal Interior Products LLC                               Contingent
         3875 Embassy Parkway Suite 110                               Unliquidated
         Fairlawn, OH 44333                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.62     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         Kyle Custom Flooring                                         Contingent
         324 Beachley St #2                                           Unliquidated
         Meyersdale, PA 15552                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.63     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $250,000.00
         Lukat LLC                                                    Contingent
         10700 W Higgins, Suite 350                                   Unliquidated
         Des Plaines, IL 60018                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: past due rent
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.64     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $39,594.47
         M S International Inc.                                       Contingent
         1441 JARVIS AVE.                                             Unliquidated
         Elk Grove Village, IL 60007                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.65     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $2,500.00
         Magnum 18                                                    Contingent
         515 N. Harlem Unit 102                                       Unliquidated
         Oak Park, IL 60302                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.66     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $75,000.00
         Michael Caliendo                                             Contingent
         8953 Gloucester Road                                         Unliquidated
         Woodridge, IL 60517                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: loan
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.67     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $19,812.68
         Mobile Mini, Inc.                                            Contingent
         PO Box 650882                                                Unliquidated
         Dallas, TX 75265-0882                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.68     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $2,361.06
         Mohawk Industries                                            Contingent
         P.O. Box 12069                                               Unliquidated
         Calhoun, GA 30703-7002                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      ABAT Builders, Inc.                                                             Case number (if known)
            Name

3.69     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $5,534.14
         Nationwide Hospitality Plumbing LLC                          Contingent
         4730 S Hwy A1A                                               Unliquidated
         Melbourne Beach, FL 32951                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.70     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $20,569.00
         Northwest Liquidators                                        Contingent
         513 S. 2nd St.                                               Unliquidated
         Yakima, WA 98902                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.71     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $3,990.00
         Pure Logistics Sales                                         Contingent
         337 Gateford Dr                                              Unliquidated
         Ballwin, MO 63021                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.72     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $2,000.00
         Randy Jackson Interior Painting                              Contingent
         2182 Joel Johnson Rd.                                        Unliquidated
         Lillington, NC 27546                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.73     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $142,000.00
         Range Electric                                               Contingent
         PO BOX 1506                                                  Unliquidated
         Enumclaw, WA 98022                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.74     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $33,400.00
         RBM Plumbing Systems West Coast Inc                          Contingent
         100 Newspaper Way, Suite 105                                 Unliquidated
         Holly Springs, NC 27540                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.75     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $65,199.98
         REM Consultants LLC                                          Contingent
         4409 North Opal Ave                                          Unliquidated
         Norridge, IL 60706                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      ABAT Builders, Inc.                                                             Case number (if known)
            Name

3.76     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $72,250.00
         Rockford Ornamental Iron Inc.                                Contingent
         1817 Michigan Ave                                            Unliquidated
         Rockford, IL 61102                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.77     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $113,601.44
         Shaw Industries, Inc.                                        Contingent
         P.O. BOX 203702                                              Unliquidated
         Dallas, TX 75320-3702                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.78     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $12,843.03
         State Systems Inc.                                           Contingent
         1861 Vanderhorn Dr.                                          Unliquidated
          TN 38143                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.79     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $950.00
         Steve Neely & Sons Wallcovering                              Contingent
         9219 Dawn Drive                                              Unliquidated
         Georgetown, IN 47122-8917                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.80     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $3,109.99
         Sunbelt Rentals                                              Contingent
         P.O. BOX 409211                                              Unliquidated
         Atlanta, GA 30384                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.81     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $49,387.09
         TGM Enterprises LLC                                          Contingent
         1356 Marcia Road                                             Unliquidated
         Memphis, TN 38117                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.82     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $18,155.81
         The Sherwin Williams co.                                     Contingent
         4201 N Milwaukee                                             Unliquidated
         Chicago, IL 60641                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      ABAT Builders, Inc.                                                             Case number (if known)
            Name

3.83     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $14,407.88
         Thomas Freese                                                Contingent
         257 Kretchman Farm Rd.                                       Unliquidated
         Meyersdale, PA 15552                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.84     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $1,030.25
         United Fire Protection                                       Contingent
         3247 Tech Drive                                              Unliquidated
         Saint Petersburg, FL 33716                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.85     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $31,827.76
         United Rentals (North America)                               Contingent
         PO BOX 840514                                                Unliquidated
         Dallas, TX 75284-0151                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.86     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $17,300.00
         Universal Electrical Services, Inc.                          Contingent
         2490 Fairfax Lane                                            Unliquidated
         Lake in the Hills, IL 60156                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.87     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $6,150.00
         US Storefront Glass and Mirrors Inc                          Contingent
         611 W Vine St, Suite M                                       Unliquidated
         Kissimmee, FL 34741                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.88     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $1,020.00
         Vancouver Paint Group, Inc.                                  Contingent
         720 SE 160th Ave Suite                                       Unliquidated
         Vancouver, WA 98684                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.89     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $111,764.99
         VMV Contracting, Inc.                                        Contingent
         6722 Clarendon Hills Rd                                      Unliquidated
         Darien, IL 60561                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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             Name

3.90      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $2,685.00
          Western Express Forwarding                                           Contingent
          9900 FALLARD CT                                                      Unliquidated
          Upper Marlboro, MD 20772                                             Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: vendor
          Last 4 digits of account number
                                                                           Is the claim subject to offset?        No      Yes

3.91      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $48,114.90
          Wiedenbach Brown Co.                                                 Contingent
          1025 Westchester Ave Suite LL01                                      Unliquidated
          West Harrison, NY 10604                                              Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: vendor
          Last 4 digits of account number
                                                                           Is the claim subject to offset?        No      Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                    related creditor (if any) listed?                account number, if
                                                                                                                                                     any
4.1       Thomas Payne
          Fifth Third Bank                                                                          Line     3.44
          222 S Riverside Plaza
                                                                                                           Not listed. Explain
          Chicago, IL 60606


Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
5a. Total claims from Part 1                                                                           5a.          $                     117,937.31
5b. Total claims from Part 2                                                                           5b.    +     $                   4,165,007.08

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.          $                      4,282,944.39




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Fill in this information to identify the case:

Debtor name       ABAT Builders, Inc.

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            2021 Jeep Wrangler
           lease is for and the nature of
           the debtor's interest

               State the term remaining                                             Ally Financial
                                                                                    Attn: Bankruptcy Dept
           List the contract number of any                                          Po Box 380901
                 government contract                                                Bloomington, MN 55438


2.2.       State what the contract or            Lease for Debtor's
           lease is for and the nature of        office
           the debtor's interest

               State the term remaining
                                                                                    Lukat LLC
           List the contract number of any                                          10700 W Higgins, Suite 350
                 government contract                                                Des Plaines, IL 60018




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
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Fill in this information to identify the case:

Debtor name      ABAT Builders, Inc.

United States Bankruptcy Court for the:    NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:
   2.1                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.2                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.3                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.4                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
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Fill in this information to identify the case:

Debtor name         ABAT Builders, Inc.

United States Bankruptcy Court for the:    NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                           $14,118,022.35
      From 1/01/2023 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                           $14,617,658.43
      From 1/01/2022 to 12/31/2022
                                                                                          Other


      For year before that:                                                               Operating a business                           $10,174,517.00
      From 1/01/2021 to 12/31/2021
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




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      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.1.
              Fifth Third Bank                                     06/29/2023                       $50,000.00                Secured debt
              Attn: Bankruptcy                                                                                                Unsecured loan repayments
              35 Fountain Square Plaza
                                                                                                                              Suppliers or vendors
              Cincinnati, OH 45263
                                                                                                                              Services
                                                                                                                              Other


      3.2.
              Michael Caliendo                                     08/31 -                          $50,000.00                Secured debt
              8953 Gloucester Road                                 09/15/2023                                                 Unsecured loan repayments
              Woodridge, IL 60517
                                                                                                                              Suppliers or vendors
                                                                                                                              Services
                                                                                                                              Other


      3.3.
              Fifth Third Bank                                     07/21 -                         $658,991.35                Secured debt
              Attn: Bankruptcy                                     09/21/2023                                                 Unsecured loan repayments
              35 Fountain Square Plaza
                                                                                                                              Suppliers or vendors
              Cincinnati, OH 45263
                                                                                                                              Services
                                                                                                                              Other


      3.4.
              Citicards                                            08/3 -                           $10,957.51                Secured debt
              PO BOX 20483                                         09/1/2023                                                  Unsecured loan repayments
              Kansas City, MO 64195                                                                                           Suppliers or vendors
                                                                                                                              Services
                                                                                                                              Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments


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7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

               Case title                             Nature of case               Court or agency's name and                  Status of case
               Case number                                                         address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

               Recipient's name and address           Description of the gifts or contributions                  Dates given                             Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and            Amount of payments received for the loss                   Dates of loss              Value of property
      how the loss occurred                                                                                                                              lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

                Who was paid or who received             If not money, describe any property transferred               Dates                    Total amount or
                the transfer?                                                                                                                            value
                Address
      11.1.     Law Offices of David Freydin
                8707 Skokie Blvd
                Suite 305
                Skokie, IL 60077                         Attorney Fees retainer                                        09/12/2023                  $10,000.00

                Email or website address
                david.freydin@freydinlaw.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
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    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                             Describe any property transferred                    Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

             Who received transfer?                    Description of property transferred or                     Date transfer             Total amount or
             Address                                   payments received or debts paid in exchange                was made                           value

 Part 7:    Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address               Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                    No Go to Part 10.
                    Yes. Fill in below:

Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units




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Debtor        ABAT Builders, Inc.                                                                Case number (if known)




18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

         None
             Financial Institution name and             Last 4 digits of           Type of account or          Date account was                  Last balance
             Address                                    account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred
      18.1.     Us Bank                                 XXXX-                         Checking                 09/15/2023                          $16,000.00
                Attn: Bankruptcy                                                      Savings
                Po Box 5229
                                                                                      Money Market
                cincinnati, OH 45201
                                                                                      Brokerage
                                                                                      Other

      18.2.     Morgan Stanley Investments              XXXX-                         Checking                 March 2023                         $300,000.00
                                                                                      Savings
                                                                                      Money Market
                                                                                      Brokerage
                                                                                      Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:      Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
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     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Cray Kaiser Ltd.                                                                                                   2018 - present
                    1901 S Meyers Road, Suite 230
                    Villa Park, IL 60181

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial

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          statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

             Name of the person who supervised the taking of the                     Date of inventory        The dollar amount and basis (cost, market,
             inventory                                                                                        or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                              Position and nature of any            % of interest, if
                                                                                                   interest                              any
      Anthony Czupryna                        5212 Brown St.                                       President                             100
                                              Skokie, IL 60077



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.

      Name                                    Address                                              Position and nature of any        Period during which
                                                                                                   interest                          position or interest
                                                                                                                                     was held
      Antoni Czupryna                         8329 Sailing Loop                                    Shareholder, 58.30%               1986 - 2021
                                              Lakewood Ranch, FL 34202                             owner


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient              Amount of money or description and value of               Dates              Reason for
                                                        property                                                                     providing the value
      30.1 Anthony Czupryna
      .    5212 Brown St.                                                                                         09/26/2022 -
             Skokie, IL 60077                           $132,000                                                  09/26/2023         Salary

             Relationship to debtor
             Owner


      30.2 Antoni Czupryna
      .    8329 Sailing Loop                                                                                      09/22/22 -
             Lakewood Ranch, FL 34202                   $56,000                                                   09/22/2023         Salary

             Relationship to debtor
             Former owner and employee


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

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           No
           Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         September 24, 2023

/s/ Anthony Czupryna                                            Anthony Czupryna
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                              Northern District of Illinois
 In re       ABAT Builders, Inc.                                                                              Case No.
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                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  HOURLY
             Prior to the filing of this statement I have received                                        $                     10,000
             Balance Due                                                                                  $                  HOURLY



2.    The source of the compensation paid to me was:
                  Debtor             Other (specify):

3.    The source of compensation to be paid to me is:
                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d. [Other provisions as needed]
              Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
              reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
              522(f)(2)(A) for avoidance of liens on household goods.

6.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:
              Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
              any other adversary proceeding.
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.


     Date                                                                     David Freydin
                                                                              Signature of Attorney
                                                                              Law Offices of David Freydin
                                                                              8707 Skokie Blvd
                                                                              Suite 305
                                                                              Skokie, IL 60077
                                                                              888-536-6607 Fax: 866-575-3765
                                                                              david.freydin@freydinlaw.com
                                                                              Name of law firm
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                                            Northern District of Illinois
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                                                         Debtor(s)              Chapter    7




                                 VERIFICATION OF CREDITOR MATRIX

                                                               Number of Creditors:                            111




        The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my
        (our) knowledge.




Date:   September 24, 2023                    /s/ Anthony Czupryna
                                              Anthony Czupryna/President
                                              Signer/Title
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                      4 Star Cleaning Service Corp
                      25 Emerson Drive
                      Schaumburg, IL 60194


                      ABBA Roofing & Construction
                      Issaqua-Pine Lake Rd. SE
                      Sammamish, WA 98075


                      ABE's Electric
                      1004 Royal St.
                      Kissimmee, FL 34744


                      AC Fire Protection LLC
                      4700 Springfield Ct.
                      Brandywine, MD 20613


                      Acoustic Pro Interior Construction
                      25921 Eufaula Way
                      Sorrento, FL 32776


                      AFA Protective Systems, Inc.
                      PO Box 21030
                      New York, NY 10087-1030


                      Air Systems Engineering
                      3602 South Pine Street
                      Tacoma, WA 98409


                      All Tile
                      855 N Wood Dale Rd., Ste A
                      Wood Dale, IL 60191


                      Ally Financial
                      Attn: Bankruptcy Dept
                      Po Box 380901
                      Bloomington, MN 55438


                      Amex
                      Correspondence/Bankruptcy
                      Po Box 981540
                      El Paso, TX 79998


                      Andrew Jaskolski
                      900 N Kingsbury Unit
                      Chicago, IL 60610
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                  Andrzej Juzwiak
                  314 Emmerson
                  Itasca, IL 60143


                  Aneta Kowalczyk
                  802 N River Rd
                  Apt. 18
                  Mount Prospect, IL 60056


                  Anthony Czupryna
                  5212 Brown St.
                  Skokie, IL 60077


                  Anthony Czupryna
                  5212 Brown St.
                  Skokie, IL 60077


                  Antoni Czupryna
                  8329 Sailing Loop
                  Lakewood Ranch, FL 34202


                  Arek Szawlowski
                  1018 Castilian Court
                  Apt. 310
                  Glenview, IL 60025


                  Betta Builders Corp
                  500 W Kathleen Drive
                  Des Plaines, IL 60016


                  Big City Asphalt
                  3321 Princeton Avenue
                  Collinsville, IL 62234


                  Bill's Electric
                  1716 E. Falcon Street
                  Webb City, MO 64870


                  BKB Pumbing
                  3404 Colony Drive
                  Jonesboro, AR 72404


                  BP Environmental Services Inc.
                  100 Highpoint Dr
                  Chalfont, PA 18914
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                  Budget Dumpster, Inc.
                  830 Canterbury Rd
                  Westlake, OH 44145


                  BW Millwork
                  6555 Skinners Turn Road
                  Owings, MD 20736


                  C&D Plumbing
                  135 Industrial Park Dr Ste A
                  Hollister, MO 65672


                  Casella Waste Management, Inc.
                  PO Box 1372
                  Williston, VT 05495


                  Ceramic Technics Ltd.
                  1298 Old Alpharetta Road
                  Alpharetta, GA 30005


                  Citi Cards
                  PO BOX 9001016
                  Louisville, KY 40290-1016


                  Citi Cards
                  PO BOX 9001016
                  Louisville, KY 40290-1016


                  Clark Capital LLC
                  58 Revere Cir
                  Ponte Vedra, FL 32081


                  Concord WP COL Greensboro
                  11410 Common Oaks Drive
                  Raleigh, NC 27614


                  CR Laurence Co, Inc.
                  2503 E Vernan Ave
                  Los Angeles, CA 90058


                  Craftsman Upholstery LLC
                  9108 Industry Dr. Suite B
                  Manassas, VA 20111
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                  Crawford Sprinkler Co. of Raleigh
                  2725 S. Saunders Street
                  Raleigh, NC 27603


                  CSS Contractors, Inc.
                  5605-C General Washington Dr
                  Alexandria, VA 22312


                  DALTILE
                  1601 Pratt Blvd.
                  Elk Grove Village, IL 60007


                  Daluca Equity Construction
                  800 W Central Rd suite 140
                  Mount Prospect, IL 60056


                  Daniel Tile and Remodeling LLC
                  c/o Humberto Daniel
                  3515 Austin Trail Lane
                  Plant City, FL 33565


                  Deanne Kuzmic
                  4835 Cordell Ave.
                  Bethesda, MD 20814


                  Digitline, Inc.
                  550 CREST AVE
                  Elk Grove Village, IL 60007


                  DKJ Construction, Inc.
                  7340 N Nora Ave.
                  Niles, IL 60714


                  Dolki Painting and Remodeling
                  6005 W. Belmont Ave
                  Chicago, IL 60634


                  Domozik Electrical Services
                  1013 Leslie Dr
                  Fayetteville, NC 28314


                  Door Engineering Corp
                  1234 Ballentine Blvd
                  Norfolk, VA 23504
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                  Dorota Maslo
                  922 E Old Willow Road
                  Prospect Heights, IL 60070


                  DTK Stone Works, Inc.
                  296 W Palatine Road
                  Wheeling, IL 60090


                  Ease Plumbing
                  19109 W Catawba Ave Suite 110
                  Cornelius, NC 28031


                  Edge Electrical Systems LLC
                  1534 Brandy Parkway
                  Streamwood, IL 60107


                  Fabricut, Inc.
                  PO BOX 470490
                  Tulsa, OK 74147-0490


                  Ferguson Enterprises, Inc.
                  FEI 9005
                  PO BOX 100286
                  Atlanta, GA 30384-0286


                  Fifth Third Bank
                  Attn: Bankruptcy
                  35 Fountain Square Plaza
                  Cincinnati, OH 45263


                  Fifth Third Bank
                  Attn: Bankruptcy
                  35 Fountain Square Plaza
                  Cincinnati, OH 45263


                  Fifth Third Bank
                  Attn: Bankruptcy
                  35 Fountain Square Plaza
                  Cincinnati, OH 45263


                  Ford Credit
                  PO BOX 650575
                  Dallas, TX 75265-0575
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                  Foundation Building Materials
                  2301 Windsor Ct Unit B
                  Addison, IL 60101


                  Garcia's Painting
                  913 Virginia Beach Blvd
                  Lot 126
                  Virginia Beach, VA 23451


                  GP Company Glass
                  1183 Betty Drive
                  Lake Zurich, IL 60047


                  Grainger
                  DEPT. 825156813
                  Palatine, IL 60038-0001


                  Harrell & Son Plumbing
                  PO BOX 8213
                  Bonney Lake, WA 98390


                  Hays Electrical Services Inc.
                  5939 Albert Dr
                  Humble, TX 77396


                  HD Supply Facilities Maintenance
                  PO BOX 509058
                  San Diego, CA 92150-9058


                  Highlands Framing
                  4140 NE 11th St
                  Renton, WA 98059


                  Home Depot Credit Services
                  PO BOX 9001030
                  Louisville, KY 40290-1030


                  J&B Construction, Inc.
                  PO Box 373
                  Forsyth, MO 65653


                  Jacie Dick
                  2315 W Wabansia
                  Unit 1E
                  Chicago, IL 60647
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                  Jack Thomas Inc.
                  38665 N Anderle Ave
                  Lake Villa, IL 60046


                  James Panchishin
                  5434 Bryce Canyon Drive
                  Kissimmee, FL 34758


                  Jeff City Filing
                  222 EAST DUNKLIN, SUITE 102
                  Jefferson City, MO 65101


                  Kansai, Inc.
                  3200 Marshall Drive
                  Amelia, OH 45102


                  Kevimeria Contractor LLC
                  3839 SW 339th St
                  Federal Way, WA 98023


                  KLM Mechanical Service
                  11216 DECIMAL DR
                  Louisville, KY 40299


                  Koroseal Interior Products LLC
                  3875 Embassy Parkway Suite 110
                  Fairlawn, OH 44333


                  Kyle Custom Flooring
                  324 Beachley St #2
                  Meyersdale, PA 15552


                  Lukat LLC
                  10700 W Higgins, Suite 350
                  Des Plaines, IL 60018


                  Lukat LLC
                  10700 W Higgins, Suite 350
                  Des Plaines, IL 60018


                  M S International Inc.
                  1441 JARVIS AVE.
                  Elk Grove Village, IL 60007
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                  Magnum 18
                  515 N. Harlem Unit 102
                  Oak Park, IL 60302


                  Michael Caliendo
                  8953 Gloucester Road
                  Woodridge, IL 60517


                  Michael Caliendo
                  8953 Gloucester Road
                  Woodridge, IL 60517


                  Michael McBride
                  4815 S Fire Lane Rd.
                  Pekin, IN 47165


                  Mobile Mini, Inc.
                  PO Box 650882
                  Dallas, TX 75265-0882


                  Mohawk Industries
                  P.O. Box 12069
                  Calhoun, GA 30703-7002


                  Nationwide Hospitality Plumbing LLC
                  4730 S Hwy A1A
                  Melbourne Beach, FL 32951


                  Nicholas Pigott
                  610 Sheridan Road
                  Apt. 3B
                  Highwood, IL 60040


                  Northwest Liquidators
                  513 S. 2nd St.
                  Yakima, WA 98902


                  Pure Logistics Sales
                  337 Gateford Dr
                  Ballwin, MO 63021


                  Randy Jackson Interior Painting
                  2182 Joel Johnson Rd.
                  Lillington, NC 27546
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                  Range Electric
                  PO BOX 1506
                  Enumclaw, WA 98022


                  RBM Plumbing Systems West Coast Inc
                  100 Newspaper Way, Suite 105
                  Holly Springs, NC 27540


                  REM Consultants LLC
                  4409 North Opal Ave
                  Norridge, IL 60706


                  Rockford Ornamental Iron Inc.
                  1817 Michigan Ave
                  Rockford, IL 61102


                  Scott Walker
                  3666 Eastside Hwy
                  Stevensville, MT 59870


                  Shaw Industries, Inc.
                  P.O. BOX 203702
                  Dallas, TX 75320-3702


                  State Systems Inc.
                  1861 Vanderhorn Dr.
                  TN 38143


                  Steve Neely & Sons Wallcovering
                  9219 Dawn Drive
                  Georgetown, IN 47122-8917


                  Sunbelt Rentals
                  P.O. BOX 409211
                  Atlanta, GA 30384


                  Td Auto Finance
                  Attn: Bankruptcy
                  Po Box 9223
                  Farmington Hills, MI 48333


                  Teresa Szafranski
                  1724 W Robbie Lane
                  Palatine, IL 60067
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                  TGM Enterprises LLC
                  1356 Marcia Road
                  Memphis, TN 38117


                  The Sherwin Williams co.
                  4201 N Milwaukee
                  Chicago, IL 60641


                  Thomas Freese
                  257 Kretchman Farm Rd.
                  Meyersdale, PA 15552


                  Thomas Payne
                  Fifth Third Bank
                  222 S Riverside Plaza
                  Chicago, IL 60606


                  United Fire Protection
                  3247 Tech Drive
                  Saint Petersburg, FL 33716


                  United Rentals (North America)
                  PO BOX 840514
                  Dallas, TX 75284-0151


                  Universal Electrical Services, Inc.
                  2490 Fairfax Lane
                  Lake in the Hills, IL 60156


                  US Storefront Glass and Mirrors Inc
                  611 W Vine St, Suite M
                  Kissimmee, FL 34741


                  Vancouver Paint Group, Inc.
                  720 SE 160th Ave Suite
                  Vancouver, WA 98684


                  Vidor Szekely
                  421 N Main St.
                  Mount Prospect, IL 60056


                  VMV Contracting, Inc.
                  6722 Clarendon Hills Rd
                  Darien, IL 60561
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                  Western Express Forwarding
                  9900 FALLARD CT
                  Upper Marlboro, MD 20772


                  Wiedenbach Brown Co.
                  1025 Westchester Ave Suite LL01
                  West Harrison, NY 10604
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                                              Northern District of Illinois
 In re   ABAT Builders, Inc.                                                        Case No.
                                                            Debtor(s)               Chapter    7




                               CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for ABAT Builders, Inc. in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




September 24, 2023                             /s/ David Freydin
Date                                           David Freydin
                                               Signature of Attorney or Litigant
                                               Counsel for ABAT Builders, Inc.
                                               Law Offices of David Freydin
                                               8707 Skokie Blvd
                                               Suite 305
                                               Skokie, IL 60077
                                               888-536-6607 Fax:866-575-3765
                                               david.freydin@freydinlaw.com
